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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

                                                           CV ACT NO.: 1:17-cv-11909-PBS

                                    )
 JACQUELINE TUCKER                  )
                                    )
                        Plaintiffs  )
 vs.                                )
U.S. BANK, N.A. AS TRUSTEE FOR      )
CITIGROUP MORTGAGE LOAN TRUST, INC, )
2006-HE3, ASSET BACKED PASS-THROUGH )
CERTIFICATES SERIES 2006-HE3;       )
WELLS FARGO BANK, N.A.; AND         )
SERVICELINK FOELD SERVICES          )
                                    )
                        Defendants  )
                                    )

                        NOTICE OF WITHDRAWAL OF APPEARANCE
                      OF PLAINTIFF’S COUNSEL GLENN F. RUSSELL, JR.
         COMES NOW, the attorney of record for the Plaintiff, Jacqueline Tucker, who hereby

  respectfully files this Notice of Withdrawal, pursuant to L.R.83.5.2(c), and (d). As support for the

  preceding, the undersigned states that there are no current pending Motions in this matter, no trial date

  has been set, nor has any evidentiary hearing been set, nor are there any reports, written or oral,

  currently due, and therefore the undersigned respectfully submits the instant Notice of Withdrawal of

  Appearance.

     WHEREFORE, the undersigned, Glenn F. Russell, Jr., hereby respectfully requests withdrawal

  of his Appearance from the instant matter, to which the Plaintiff assents thereto. Plaintiff will be

  served a copy of this Notice by USPS, postage prepaid.

                                     Respectfully submitted,

                                     /s/ Glenn F. Russell, Jr.,
                                     Glenn F. Russell, Jr.,
                                     BBO# 656914
                                     Glenn F. Russell, Jr., & Associates, P.C.
                                     38 Rock Street, Suite #12
                                     Fall River, MA 02720
                                     (508) 324-4545
                                                     1
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                                   CERTIFICATE OF SERVICE

      I, Glenn F. Russell, Jr., attorney for the Plaintiff hereby certifies that on this the 22nd day of
February 2018, a true and correct copy of the Plaintiffs’ counsel’s Notice of Withdrawal was
served by way of the ECF/CM system to the registered participants involved in this matter, and
further upon the Defendants counsel of record in this matter listed below. This Document was also
caused to be placed in the mail, USPS, postage prepaid on this date, addressed to the following.
David E. Fialkow
Edward J. Mikolinski
K&L Gates LLP
State Street Financial Center
One Lincoln Street
Boston, Massachusetts 02111


Jacqueline Tucker,
48 Narragansett Avenue,
Oak Bluffs, MA 02557.




                                                   /s/ Glenn F. Russell, Jr.
                                                   Glenn F. Russell, Jr.




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